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Also – a standard must be clearly established in communicating what is meant when the Court
says that it “will not review unrelated filings.”

What constitutes an “unrelated filing,” and what statute contains this expression and sets forth
the criterion for what is related and what is unrelated. If this is not clearly established, Plaintiff is
thereby prejudiced, his substantive rights under the Constitution are violated, and he suffers
tangible injury as a result, including foregone interest on cash and lost purchasing power due to
inflation and the opportunity cost of not being able to invest in marketable securities and other
financial assets which provide for a satisfactory rate of return, on a risk adjusted basis, based on
the Plaintiff’s investment objectives and general condition of the capital markets.

Respectfully,

Bryce Carrasco

                                           *        *       *

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 9, 2021. /s/Bryce Carrasco.

                                           Bryce Carrasco
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